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                                                       United States District Court
                                                       Central District of California

 UNITED STATES OF AMERICA vs.                                               Docket No.              CR 07-1048-VBF

 Defendant          2) David Cole, Jr.                                      Social Security No. 5            3   9   7
 akas:    David Cole                                                        (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                     MONTH    DAY     YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.     JULY      24      2009

  COUNSEL           X WITH COUNSEL                                                 Edward Robinson, CJA
                                                                                         (Name of Counsel)

     PLEA          X GUILTY, and the court being satisfied that there is a factual basis for the plea.              NOLO                NOT
                                                                                                                 CONTENDERE            GUILTY
  FINDING           There being a finding/verdict of X GUILTY, defendant has been convicted as charged of the offense(s) of:
                   Conspiracy to Possess with Intent to Distribute and Distribute Heroin in violation of 21 U.S.C. §846.
JUDGMENT           The Court asked whether defendant had anything to say why judgment should not be pronounced. Because no sufficient cause
AND PROB/          to the contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM             that: Pursuant to the Sentencing Reform Act of 1984, 18 U.S.C. §3553(a) factors, and the Plea Agreement, it is the
  ORDER            judgment of the Court that the defendant, David Cole, Jr., is hereby committed on Count One of the Two-Count
                   Indictment to the custody of the Bureau of Prisons to be imprisoned for a term of 6 (six) months. See also condition
                   #9, terms of supervised release:

         It is ordered that the defendant shall pay to the United States a special assessment of $100 which is due immediately.

         All fines are waived as it is found that the defendant does not have the ability to pay.

         Upon release from imprisonment, the defendant shall be placed on supervised release for a term of five years under the
         following terms and conditions:

         1.         The defendant shall comply with the rules and regulations of the U. S. Probation Office and General Order 318;

         2.         The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
                    drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, not to exceed
                    eight tests per month, as directed by the Probation Officer;

         3.         The defendant shall participate in an outpatient substance abuse treatment and counseling program that includes
                    urinalysis, breath, and/or sweat patch testing, as directed by the Probation Officer. The defendant shall abstain
                    from using illicit drugs and alcohol, and abusing prescription medications during the period of supervision;

         4.         During the course of supervision, the Probation Officer, with the agreement of the defendant and defense counsel,
                    may place the defendant in a residential drug treatment program approved by the United States Probation Office
                    for treatment of narcotic addiction or drug dependency, which may include counseling and testing, to determine if
                    the defendant has reverted to the use of drugs, and the defendant shall reside in the treatment program until
                    discharged by the Program Director and Probation Officer;

         5.         As directed by the Probation Officer, the defendant shall pay all or part of the costs of treating the defendant's
                    drug and alcohol dependency to the aftercare contractor during the period of community supervision, pursuant to
                    18 U.S.C. § 3672. The defendant shall provide payment and proof of payment as directed by the Probation
                    Officer;

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         6.           The Court authorizes the Probation Office to disclose the Presentence Report to the substance abuse treatment
                      provider to facilitate the defendant's treatment for narcotic addiction or drug dependency. Further redisclosure of
                      the Presentence Report by the treatment provider is prohibited without the consent of the sentencing judge;

         7.           During the period of community supervision the defendant shall pay the special assessment in accordance with
                      this judgment's orders pertaining to such payment; and

         8.           The defendant shall cooperate in the collection of a DNA sample from the defendant.

         9.           In addition, after release from imprisonment, the defendant is ORDERED to serve 6 (six) months in a Community
                      Corrections Center (CCC).

         The Court GRANTS the government’s motion to dismiss Count 1 of the indictment.

         Defendant is advised of his right to appeal.

        The Court STRONGLY recommends that the defendant receive treatment for heroin addiction while in prison and while
at the CCC.

         It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons on or
         before 12 noon, Monday, November 16, 2009. In the absence of such designation, the defendant shall report on or before
         the same date and time, to the United States Marshal located at the Roybal Federal Building, 255 East Temple Street, Los
         Angeles, California 90012.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




              July 24, 2009
              Date                                                    Honorable Valerie Baker Fairbank
                                                                      United States District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.




              July 24, 2009                                     By    Rita Sanchez
              Filed Date                                              Deputy Clerk

 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                  While the defendant is on probation or supervised release pursuant to this judgment:




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 1.    The defendant shall not commit another Federal, state or local crime;     10.   the defendant shall not associate with any persons engaged in criminal
 2.    the defendant shall not leave the judicial district without the written         activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                   unless granted permission to do so by the probation officer;
 3.    the defendant shall report to the probation officer as directed by the    11.   the defendant shall permit a probation officer to visit him or her at any
       court or probation officer and shall submit a truthful and complete             time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                        contraband observed in plain view by the probation officer;
 4.    the defendant shall answer truthfully all inquiries by the probation      12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                   being arrested or questioned by a law enforcement officer;
 5.    the defendant shall support his or her dependents and meet other          13.   the defendant shall not enter into any agreement to act as an informer
       family responsibilities;                                                        or a special agent of a law enforcement agency without the permission
 6.    the defendant shall work regularly at a lawful occupation unless                of the court;
       excused by the probation officer for schooling, training, or other        14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                             parties of risks that may be occasioned by the defendant’s criminal
 7.    the defendant shall notify the probation officer at least 10 days prior         record or personal history or characteristics, and shall permit the
       to any change in residence or employment;                                       probation officer to make such notifications and to conform the
 8.    the defendant shall refrain from excessive use of alcohol and shall not         defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other   15.   the defendant shall, upon release from any period of custody, report
       controlled substance, or any paraphernalia related to such substances,          to the probation officer within 72 hours;
       except as prescribed by a physician;                                      16.   and, for felony cases only: not possess a firearm, destructive device,
 9.    the defendant shall not frequent places where controlled substances             or any other dangerous weapon.
       are illegally sold, used, distributed or administered;


 G     The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution , however, are not
 applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).

           Payments shall be applied in the following order:

                       1. Special assessments pursuant to 18 U.S.C. §3013;
                       2. Restitution, in this sequence:
                                 Private victims (individual and corporate),
                                 Providers of compensation to private victims,
                                 The United States as victim;
                       3. Fine;
                       4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                       5. Other penalties and costs.




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                                  SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                      These conditions are in addition to any other conditions imposed by this judgment.




                                                                         RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                          to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                         United States Marshal


                                                                   By
            Date                                                         Deputy Marshal




                                                                      CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.


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                                                                   Clerk, U.S. District Court


                                                             By
            Filed Date                                             Deputy Clerk




                                                FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                    Defendant                                                     Date




                    U. S. Probation Officer/Designated Witness                    Date




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